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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

AARON MANUEL MORA, NO. CV 17-7143-MCS (AGR)
Petitioner,
JUDGMENT
V.
JEFF LYNCH, Acting Warden,

Respondent.

 

Pursuant to the Order Accepting Findings and Recommendation of United
States Magistrate Judge,
IT IS ADJUDGED that the Petition For Writ of Habeas Corpus in this matter is

denied and this action is dismissed with prejudice,

DATED: October 6, 2021 bul L bears:

MARK C. SCARSI
United States District Judge

 

 

 

 
